Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 1 of 13 Page ID #:227




   1 Eugene P. Ramirez (State Bar No. 134865)
       epr@manningllp.com
   2 Tony M. Sain (State Bar No. 251626)
       tms@manningllp.com
   3 Joseph Gordon (State Bar No. 314564)
       jag@manningllp.com
   4 MANNING & KASS
     ELLROD, RAMIREZ, TRESTER LLP
   5 801 S. Figueroa St, 15th Floor
     Los Angeles, California 90017-3012
   6 Telephone: (213) 624-6900
     Facsimile: (213) 624-6999
   7
     Attorneys for Defendant, COUNTY OF
   8 RIVERSIDE
   9                         UNITED STATES DISTRICT COURT
  10         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  11
  12 MARIA LOWRIE, Individually, and as            Case No. 5:20-CV-02651-JWH-KK
     Successor in Interest to ERNIE
  13 SERRANO,                                      [The Hon. John W. Holcomb]
  14                Plaintiff,                     STIPULATION AND JOINT
                                                   REQUEST FOR ENTRY OF
  15         v.                                    PROTECTIVE ORDER RE
                                                   CONFIDENTIAL DOCUMENTS
  16 COUNTY OF RIVERSIDE, a legal
     subdivision of the State of California; Filed Concurrently with [PROPOSED]
  17 DOE DEPUTIES 1-10, individually;        ORDER
     STATER BROS. MARKETS, a
  18 California Corporation; DOE
     SECURITY COMPANY, an entity, and NOTE CHANGES MADE BY THE
  19 DOES 11-15, inclusive,                  COURT
  20                Defendant.
  21
  22 TO THE HONORABLE COURT:
  23         By and through counsel of record in this action, MARIA LOWRIE ("plaintiff"),
  24 and defendant COUNTY OF RIVERSIDE, ("defendant") (collectively “the parties”),
  25 the parties in this action – by and through their respective counsel of record, hereby
  26 stipulate and respectfully request that the Court enter a protective order re confidential
  27 documents in this matter [pursuant to Fed. R. Civ. P. 5.2, 7, and 26, as well as U.S.
  28 Dist. Ct., C.D. Cal., Local Rules 7-1 and 52-4.1; and any applicable Orders of the

        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 2 of 13 Page ID #:228




   1 Court] – as follows:
   2
   3 1.      A.    PURPOSES AND LIMITATIONS
   4         Discovery in this action is likely to involve production of confidential,
   5 proprietary, or private information for which special protection from public disclosure
   6 and from use for any purpose other than prosecuting this litigation may be warranted.
   7 Accordingly, the parties hereby stipulate to and petition the Court to enter the
   8 following Stipulated Protective Order. The parties acknowledge that this Order does
   9 not confer blanket protections on all disclosures or responses to discovery and that the
  10 protection it affords from public disclosure and use extends only to the limited
  11 information or items that are entitled to confidential treatment under the applicable
  12 legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
  13 that this Stipulated Protective Order does not entitle them to file confidential
  14 information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
  15 followed and the standards that will be applied when a party seeks permission from
  16 the court to file material under seal.
  17
  18         B.    GOOD CAUSE STATEMENT
  19         This action is likely to involve confidential documents relating to ongoing
  20 criminal investigations and prosecutions, peace officer personnel file documents, as
  21 well as personal identifying information of third party witnesses (i.e. addresses,
  22 telephone numbers, etc.), for which special protection from public disclosure and
  23 from use for any purpose other than prosecution of this action is warranted. Such
  24 confidential and proprietary materials and information consist of, among other things,
  25 documents produced in connection with ongoing criminal investigations and
  26 prosecutions, including the prosecutions in personnel file information; and personal
  27 identifying information of any third party witnesses, otherwise generally unavailable
  28 to the public, or which may be privileged or otherwise protected from disclosure under
                                                2
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 3 of 13 Page ID #:229




   1 state or federal statutes, court rules, case decisions, or common law.
   2         Accordingly, to expedite the flow of information, to facilitate the prompt
   3 resolution of disputes over confidentiality of discovery materials, to adequately
   4 protect information the parties are entitled to keep confidential, to ensure that the
   5 parties are permitted reasonable necessary uses of such material in preparation for and
   6 in the conduct of trial, to address their handling at the end of the litigation, and serve
   7 the ends of justice, a protective order for such information is justified in this matter.
   8 It is the intent of the parties that information will not be designated as confidential for
   9 tactical reasons and that nothing be so designated without a good faith belief that it
  10 has been maintained in a confidential, non-public manner, and there is good cause
  11 why it should not be part of the public record of this case.
  12
  13         2.    DEFINITIONS
  14         2.1   Action: this pending federal law suit.
  15         2.2   Challenging Party: a Party or Non-Party that challenges the
  16 designation of information or items under this Order.
  17         2.3   “CONFIDENTIAL” Information or Items: information (regardless of
  18 how it is generated, stored or maintained) or tangible things that qualify for protection
  19 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
  20 Statement.
  21         2.4   Counsel: Outside Counsel of Record and House Counsel (as well as
  22 their support staff).
  23         2.5   Designating Party: a Party or Non-Party that designates information or
  24 items that it produces in disclosures or in responses to discovery as
  25 “CONFIDENTIAL.”
  26         2.6   Disclosure or Discovery Material: all items or information, regardless
  27 of the medium or manner in which it is generated, stored, or maintained (including,
  28 among other things, testimony, transcripts, and tangible things), that are produced or
                                               3
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 4 of 13 Page ID #:230




   1 generated in disclosures or responses to discovery in this matter.
   2         2.7   Expert: a person with specialized knowledge or experience in a matter
   3 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
   4 expert witness or as a consultant in this Action.
   5         2.8   House Counsel: attorneys who are employees of a party to this Action.
   6 House Counsel does not include Outside Counsel of Record or any other outside
   7 counsel.
   8         2.9   Non-Party: any natural person, partnership, corporation, association, or
   9 other legal entity not named as a Party to this action.
  10         2.10 Outside Counsel of Record: attorneys who are not employees of a party
  11 to this Action but are retained to represent or advise a party to this Action and have
  12 appeared in this Action on behalf of that party or are affiliated with a law firm which
  13 has appeared on behalf of that party, and includes support staff.
  14         2.11 Party: any party to this Action, including all of its officers, directors,
  15 employees, consultants, retained experts, and Outside Counsel of Record (and their
  16 support staffs).
  17         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  18 Discovery Material in this Action.
  19         2.13 Professional Vendors: persons or entities that provide litigation support
  20 services (e.g., photocopying, videotaping, translating, preparing exhibits or
  21 demonstrations, and organizing, storing, or retrieving data in any form or medium) and
  22 their employees and subcontractors.
  23         2.14 Protected Material: any Disclosure or Discovery Material that is
  24 designated as “CONFIDENTIAL.”
  25         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  26 from a Producing Party.
  27         3.    SCOPE
  28         The protections conferred by this Stipulation and Order cover not only Protected
                                                  4
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 5 of 13 Page ID #:231




   1 Material (as defined above), but also (1) any information copied or extracted from
   2 Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
   3 Material; and (3) any testimony, conversations, or presentations by Parties or their
   4 Counsel that might reveal Protected Material.
   5         Any use of Protected Material at trial shall be governed by the orders of the trial
   6 judge. This Order does not govern the use of Protected Material at trial.
   7
   8         4.     DURATION
   9          Even after final disposition of this litigation, the confidentiality obligations
  10 imposed by this Order shall remain in effect until a Designating Party agrees otherwise
  11 in writing or a court order otherwise directs. Final disposition shall be deemed to be
  12 the later of (1) dismissal of all claims and defenses in this Action, with or without
  13 prejudice; and (2) final judgment herein after the completion and exhaustion of all
  14 appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
  15 for filing any motions or applications for extension of time pursuant to applicable law.
  16
  17         5.     DESIGNATING PROTECTED MATERIAL
  18         5.1    Exercise of Restraint and Care in Designating Material for Protection.
  19 Each Party or Non-Party that designates information or items for protection under this
  20 Order must take care to limit any such designation to specific material that qualifies
  21 under the appropriate standards. The Designating Party must designate for protection
  22 only those parts of material, documents, items, or oral or written communications that
  23 qualify so that other portions of the material, documents, items, or communications for
  24 which protection is not warranted are not swept unjustifiably within the ambit of this
  25 Order.
  26         Mass, indiscriminate, or routinized designations are prohibited. Designations
  27 that are shown to be clearly unjustified or that have been made for an improper purpose
  28 (e.g., to unnecessarily encumber the case development process or to impose
                                           5
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 6 of 13 Page ID #:232




   1 unnecessary expenses and burdens on other parties) may expose the Designating Party
   2 to sanctions.
   3        If it comes to a Designating Party’s attention that information or items that it
   4 designated for protection do not qualify for protection, that Designating Party must
   5 promptly notify all other Parties that it is withdrawing the inapplicable designation.
   6        5.2      Manner and Timing of Designations. Except as otherwise provided in
   7 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
   8 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
   9 under this Order must be clearly so designated before the material is disclosed or
  10 produced.
  11        Designation in conformity with this Order requires:
  12        (a)      for information in documentary form (e.g., paper or electronic
  13 documents, but excluding transcripts of depositions or other pretrial or trial
  14 proceedings), that the Producing Party affix at a minimum, the legend
  15 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
  16 contains protected material. If only a portion or portions of the material on a page
  17 qualifies for protection, the Producing Party also must clearly identify the protected
  18 portion(s) (e.g., by making appropriate markings in the margins).
  19        A Party or Non-Party that makes original documents available for inspection
  20 need not designate them for protection until after the inspecting Party has indicated
  21 which documents it would like copied and produced. During the inspection and before
  22 the designation, all of the material made available for inspection shall be deemed
  23 “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
  24 copied and produced, the Producing Party must determine which documents, or
  25 portions thereof, qualify for protection under this Order. Then, before producing the
  26 specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
  27 to each page that contains Protected Material. If only a portion or portions of the
  28 material on a page qualifies for protection, the Producing Party also must clearly
                                              6
       STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                       DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 7 of 13 Page ID #:233




   1 identify the protected portion(s) (e.g., by making appropriate markings in the margins).
   2         (b)   for testimony given in depositions that the Designating Party identify the
   3 Disclosure or Discovery Material on the record, before the close of the deposition all
   4 protected testimony.
   5         (c)   for information produced in some form other than documentary and for
   6 any other tangible items, that the Producing Party affix in a prominent place on the
   7 exterior of the container or containers in which the information is stored the legend
   8 “CONFIDENTIAL.” If only a portion or portions of the information warrants
   9 protection, the Producing Party, to the extent practicable, shall identify the protected
  10 portion(s).
  11         5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  12 failure to designate qualified information or items does not, standing alone, waive the
  13 Designating Party’s right to secure protection under this Order for such material. Upon
  14 timely correction of a designation, the Receiving Party must make reasonable efforts
  15 to assure that the material is treated in accordance with the provisions of this Order.
  16
  17         6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  18         6.1   Timing of Challenges. Any Party or Non-Party may challenge a
  19 designation of confidentiality at any time that is consistent with the Court’s
  20 Scheduling Order.
  21         6.2   Meet and Confer. The Challenging Party shall initiate the dispute
  22 resolution process under Local Rule 37.1 et seq.
  23         6.3   The burden of persuasion in any such challenge proceeding shall be on
  24 the Designating Party. Frivolous challenges, and those made for an improper purpose
  25 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  26 expose the Challenging Party to sanctions. Unless the Designating Party has waived
  27 or withdrawn the confidentiality designation, all parties shall continue to afford the
  28 material in question the level of protection to which it is entitled under the Producing
                                                 7
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 8 of 13 Page ID #:234




   1 Party’s designation until the Court rules on the challenge.
   2
   3        7.     ACCESS TO AND USE OF PROTECTED MATERIAL
   4        7.1    Basic Principles. A Receiving Party may use Protected Material that is
   5 disclosed or produced by another Party or by a Non-Party in connection with this
   6 Action only for prosecuting, defending, or attempting to settle this Action. Such
   7 Protected Material may be disclosed only to the categories of persons and under the
   8 conditions described in this Order. When the Action has been terminated, a Receiving
   9 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
  10        Protected Material must be stored and maintained by a Receiving Party at a
  11 location and in a secure manner that ensures that access is limited to the persons
  12 authorized under this Order.
  13        7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  14 otherwise ordered by the court or permitted in writing by the Designating Party, a
  15 Receiving Party may disclose any information or item designated “CONFIDENTIAL”
  16 only to:
  17        (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
  18 as employees of said Outside Counsel of Record to whom it is reasonably necessary
  19 to disclose the information for this Action;
  20        (b)    the officers, directors, and employees (including House Counsel) of the
  21 Receiving Party to whom disclosure is reasonably necessary for this Action;
  22        (c)    Experts (as defined in this Order) of the Receiving Party to whom
  23 disclosure is reasonably necessary for this Action and who have signed the
  24 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  25        (d)    the court and its personnel;
  26        (e)    court reporters and their staff;
  27        (f)    professional jury or trial consultants, mock jurors, and Professional
  28 Vendors to whom disclosure is reasonably necessary for this Action and who have
                                            8
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 9 of 13 Page ID #:235




   1 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   2         (g)   the author or recipient of a document containing the information or a
   3 custodian or other person who otherwise possessed or knew the information;
   4         (h)   in preparation for and during their depositions, witnesses, and attorneys
   5 for witnesses, in the Action to whom disclosure is reasonably necessary provided: (1)
   6 the deposing party requests that the witness sign the form attached as Exhibit A hereto;
   7 and (2) they will not be permitted to keep any confidential information unless they
   8 sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
   9 otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed
  10 deposition testimony or exhibits to depositions that reveal Protected Material may be
  11 separately bound by the court reporter and may not be disclosed to anyone except as
  12 permitted under this Stipulated Protective Order; and
  13         (i)   any mediator or settlement officer, and their supporting personnel,
  14 mutually agreed upon by any of the parties engaged in settlement discussions.
  15
  16         8.    PROTECTED         MATERIAL         SUBPOENAED          OR     ORDERED
  17 PRODUCED IN OTHER LITIGATION
  18         If a Party is served with a subpoena or a court order issued in other litigation
  19 that compels disclosure of any information or items designated in this Action as
  20 “CONFIDENTIAL,” that Party must:
  21         (a)   promptly notify in writing the Designating Party. Such notification shall
  22 include a copy of the subpoena or court order;
  23         (b)   promptly notify in writing the party who caused the subpoena or order to
  24 issue in the other litigation that some or all of the material covered by the subpoena or
  25 order is subject to this Protective Order. Such notification shall include a copy of this
  26 Stipulated Protective Order; and
  27         (c)   cooperate with respect to all reasonable procedures sought to be pursued
  28 by the Designating Party whose Protected Material may be affected.
                                             9
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 10 of 13 Page ID #:236




    1        If the Designating Party timely seeks a protective order, the Party served with
    2 the subpoena or court order shall not produce any information designated in this action
    3 as “CONFIDENTIAL” before a determination by the court from which the subpoena
    4 or order issued, unless the Party has obtained the Designating Party’s permission. The
    5 Designating Party shall bear the burden and expense of seeking protection in that court
    6 of its confidential material and nothing in these provisions should be construed as
    7 authorizing or encouraging a Receiving Party in this Action to disobey a lawful
    8 directive from another court.
    9        9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  10 PRODUCED IN THIS LITIGATION
  11         (a)    The terms of this Order are applicable to information produced by a Non-
  12 Party in this Action and designated as “CONFIDENTIAL.” Such information
  13 produced by Non-Parties in connection with this litigation is protected by the remedies
  14 and relief provided by this Order. Nothing in these provisions should be construed as
  15 prohibiting a Non-Party from seeking additional protections.
  16         (b)    In the event that a Party is required, by a valid discovery request, to
  17 produce a Non-Party’s confidential information in its possession, and the Party is
  18 subject to an agreement with the Non-Party not to produce the Non-Party’s
  19 confidential information, then the Party shall:
  20         (1)    promptly notify in writing the Requesting Party and the Non-Party that
  21 some or all of the information requested is subject to a confidentiality agreement with
  22 a Non-Party;
  23         (2)    promptly provide the Non-Party with a copy of the Stipulated Protective
  24 Order in this Action, the relevant discovery request(s), and a reasonably specific
  25 description of the information requested; and
  26         (3)    make the information requested available for inspection by the Non-
  27 Party, if requested.
  28         (c)    If the Non-Party fails to seek a protective order from this court within 14
                                                  10
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 11 of 13 Page ID #:237




    1 days of receiving the notice and accompanying information, the Receiving Party may
    2 produce the Non-Party’s confidential information responsive to the discovery request.
    3 If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
    4 any information in its possession or control that is subject to the confidentiality
    5 agreement with the Non-Party before a determination by the court. Absent a court
    6 order to the contrary, the Non-Party shall bear the burden and expense of seeking
    7 protection in this court of its Protected Material.
    8        10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    9        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  10 Protected Material to any person or in any circumstance not authorized under this
  11 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  12 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  13 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  14 persons to whom unauthorized disclosures were made of all the terms of this Order,
  15 and (d) request such person or persons to execute the “Acknowledgment and
  16 Agreement to Be Bound” that is attached hereto as Exhibit A.
  17
  18         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  19 PROTECTED MATERIAL
  20         When a Producing Party gives notice to Receiving Parties that certain
  21 inadvertently produced material is subject to a claim of privilege or other protection,
  22 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  23 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  24 may be established in an e-discovery order that provides for production without prior
  25 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  26 parties reach an agreement on the effect of disclosure of a communication or
  27 information covered by the attorney-client privilege or work product protection, the
  28 parties may incorporate their agreement in the stipulated protective order submitted to
                                              11
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 12 of 13 Page ID #:238




    1 the court.
    2        12.    MISCELLANEOUS
    3        12.1 Right to Further Relief. Nothing in this Order abridges the right of any
    4 person to seek its modification by the Court in the future.
    5        12.2 Right to Assert Other Objections. By stipulating to the entry of this
    6 Protective Order no Party waives any right it otherwise would have to object to
    7 disclosing or producing any information or item on any ground not addressed in this
    8 Stipulated Protective Order. Similarly, no Party waives any right to object on any
    9 ground to use in evidence of any of the material covered by this Protective Order.
  10         12.3 Filing Protected Material. A Party that seeks to file under seal any
  11 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
  12 only be filed under seal pursuant to a court order authorizing the sealing of the specific
  13 Protected Material at issue. If a Party's request to file Protected Material under seal is
  14 denied by the court, then the Receiving Party may file the information in the public
  15 record unless otherwise instructed by the court.
  16         13.    FINAL DISPOSITION
  17         After the final disposition of this Action, as defined in paragraph 4, within 60
  18 days of a written request by the Designating Party, each Receiving Party must return
  19 all Protected Material to the Producing Party or destroy such material. As used in this
  20 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  21 summaries, and any other format reproducing or capturing any of the Protected
  22 Material. Whether the Protected Material is returned or destroyed, the Receiving Party
  23 must submit a written certification to the Producing Party (and, if not the same person
  24 or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
  25 category, where appropriate) all the Protected Material that was returned or destroyed
  26 and (2)affirms that the Receiving Party has not retained any copies, abstracts,
  27 compilations, summaries or any other format reproducing or capturing any of the
  28 Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
                                             12
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
Case 5:20-cv-02651-JWH-KK Document 23 Filed 04/27/21 Page 13 of 13 Page ID #:239




    1 archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
    2 legal memoranda, correspondence, deposition and trial exhibits, expert reports,
    3 attorney work product, and consultant and expert work product, even if such materials
    4 contain Protected Material. Any such archival copies that contain or constitute
    5 Protected Material remain subject to this Protective Order as set forth in Section 4
    6 (DURATION).
    7         14. Any violation of this Order may be punished by any and all appropriate
    8 measures including, without limitation, contempt proceedings and/or monetary
    9 sanctions.
  10 IT IS SO STIPULATED.
  11 DATED: April 23, 2021                   MANNING & KASS
                                             ELLROD, RAMIREZ, TRESTER LLP
  12
                                             By:         /s/ Joseph A. Gordon
  13
                                                   Euguene P. Ramirez
  14                                               Tony M. Sain
  15                                               Joseph Gordon
                                                   Attorneys for Defendant, COUNTY OF
  16                                               RIVERSIDE
  17 DATED: April 23, 2021                   THE LAW OFFICES OF HUMBERTO
  18                                         GUIZAR

  19
  20
                                             By:         /s/ Christian Contreras
  21                                               Humberto M. Guizar
  22                                               Christian Contreras
                                                   Attorneys for Plaintiff, MARIA LOWRIE
  23
  24    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

  25
  26
  27    DATED: April 27, 2021
  28
                                                        United States Magistrate Judge
                                                   13
        STIPULATION AND JOINT REQUEST FOR ENTRY OF PROTECTIVE ORDER RE CONFIDENTIAL
                                        DOCUMENTS
